Case 2:12-cv-10250-MRW Document 1 Filed 11/30/12 Page 1 of 11 Page ID #:1
Case 2:12-cv-10250-MRW Document 1 Filed 11/30/12 Page 2 of 11 Page ID #:2
Case 2:12-cv-10250-MRW Document 1 Filed 11/30/12 Page 3 of 11 Page ID #:3
Case 2:12-cv-10250-MRW Document 1 Filed 11/30/12 Page 4 of 11 Page ID #:4
Case 2:12-cv-10250-MRW Document 1 Filed 11/30/12 Page 5 of 11 Page ID #:5
Case 2:12-cv-10250-MRW Document 1 Filed 11/30/12 Page 6 of 11 Page ID #:6
Case 2:12-cv-10250-MRW Document 1 Filed 11/30/12 Page 7 of 11 Page ID #:7
Case 2:12-cv-10250-MRW Document 1 Filed 11/30/12 Page 8 of 11 Page ID #:8
Case 2:12-cv-10250-MRW Document 1 Filed 11/30/12 Page 9 of 11 Page ID #:9
Case 2:12-cv-10250-MRW Document 1 Filed 11/30/12 Page 10 of 11 Page ID #:10
Case 2:12-cv-10250-MRW Document 1 Filed 11/30/12 Page 11 of 11 Page ID #:11
